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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Sientra, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  3333 Michelson Drive
                                  Suite 650
                                  Irvine, CA 92612
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://sientra.com/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
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Debtor    Sientra, Inc.                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5047

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor    Sientra, Inc.                                                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Rider 1                                                  Relationship

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                                                                     50,001-100,000
                                                                                        5001-10,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


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Debtor   Sientra, Inc.                                                               Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Sientra, Inc.                                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 12, 2024
                                                  MM / DD / YYYY


                             X /s/ Ronald Menezes                                                         Ronald Menezes
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President and CEO




18. Signature of attorney    X /s/ Laura Davis Jones                                                       Date February 12, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Laura Davis Jones
                                 Printed name

                                 Pachulski Stang Ziehl & Jones LLP
                                 Firm name

                                 919 North Market Street
                                 17th Floor
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-652-4100                  Email address      ljones@pszjlaw.com

                                 2436 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Official Form 201A (12/15)
[If debtor is required to file periodic reports (e.g. forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this
Exhibit "A" shall be completed and attached to the petition.]

                                                                United States Bankruptcy Court
                                                                       District of Delaware
 In re       Sientra, Inc.                                                                                Case No.
                                                                               Debtor(s)                  Chapter     11


                                     Attachment to Voluntary Petition for Non-Individuals Filing for
                                                    Bankruptcy under Chapter 11
1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number
   is 001-36709 .

2. The following financial data is the latest available information and refers to the debtor's condition on            9/30/2023    .

 a. Total assets                                                                                     $                139,933,000.00

 b. Total debts (including debts listed in 2.c., below)                                              $                171,978,000.00

 c. Debt securities held by more than 500 holders:                                                                             Approximate
                                                                                                                                number of
                                                                                                                                 holders:

 secured                 unsecured                   subordinated               $                         0.00                            0
 secured                 unsecured                   subordinated               $                         0.00                            0
 secured                 unsecured                   subordinated               $                         0.00                            0
 secured                 unsecured                   subordinated               $                         0.00                            0
 secured                 unsecured                   subordinated               $                     Unknown

 d. Number of shares of preferred stock                                                                         0                            0

 e. Number of shares common stock                                                                     12,294,638                             0
    Comments, if any:
    The Debtor will file schedules and a statement of financial affairs pursuant to Fed R. Bankr. P. 1007(c) at a date to be
    determined by this Court. The amounts listed above reflect amounts listed on the Debtor's books and records, and may
    not be reflective of actual values.

3. Brief description of Debtor's business:
   Sientra is a surgical aesthetics company focused on empowering people to change their lives through increased
   self-confidence and self-respect.

4. List the name of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
   securities of debtor:




Official Form 201A               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                                         SCHEDULE 1




        Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a voluntary
petition for relief under chapter 11 of title 11 of the United States Code in the United States
Bankruptcy Court for the District of Delaware. The Debtors have moved for joint administration
of these cases for procedural purposes only under the case number assigned to the chapter 11 case
of Sientra, Inc.

   1.   Sientra, Inc.
   2.   Mist Holdings, Inc.
   3.   Mist, Inc.
   4.   Mist International, Inc.
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                                 ACTION BY UNANIMOUS WRITTEN CONSENT OF
                                  THE BOARD OF DIRECTORS OF SIENTRA, INC.

                                               Effective as of February 12, 2024

                           The undersigned, being all of the members of the Board of Directors
            (the “Board”) of SIENTRA, INC. (the “Company”), pursuant to the laws of the State of
            Delaware and the applicable governing documents of the Company, acting by written consent in
            lieu of a meeting, do hereby consent to the adoption of the following resolutions
            (the “Resolutions”) and directs that this Action by Unanimous Written Consent be filed in the
            records of the Company.

                           WHEREAS, the Board has reviewed the historical performance of the Company,
            the market for the Company’s products and services, and the current and long-term liabilities of
            the Company;

                           WHEREAS, the Board has reviewed the materials presented by the management
            of and the advisors to the Company regarding the possible need to restructure the Company, and
            has analyzed each of the strategic alternatives available to it, and the impact of the foregoing on
            the Company's business and its stakeholders;

                             NOW, THEREFORE, BE IT RESOLVED, that in the business judgment of the
            Board, it is desirable and in the best interests of the Company and its respective stakeholders that
            a petition be filed by the Company seeking relief under the provisions of chapter 11 of title 11 of
            the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
            District of Delaware (the “Bankruptcy Court”);

                            RESOLVED, that each of the following is hereby authorized and approved in all
            respects with respect to each Company: (1) filing, or causing to be filed, a chapter 11 case under
            the Bankruptcy Code in the Bankruptcy Court; and (2) filing, or causing to be filed, any other
            petition for relief or recognition or other motion or order that may be desirable under applicable
            law in the United States;

                             RESOLVED, that the officers of the Company (each, an “Authorized Officer”)
            be, and each of them hereby is, authorized on behalf of the Company to execute, verify and file
            all petitions, schedules, lists, and other papers or documents, and to take and perform any and all
            further actions and steps that any such Authorized Officer deems necessary, desirable and proper
            in connection with the Company’s chapter 11 case, with a view to the successful prosecution of
            such case;

                          RESOLVED, that the Authorized Officers, on behalf of the Company, is
            authorized, empowered and directed to retain the law firms of Pachulski Stang Ziehl & Jones
            LLP (“PSZ&J”) and Kirkland & Ellis LLP (“K&E”) as bankruptcy counsel to represent and
            assist the Company in carrying out its duties under chapter 11 of the Bankruptcy Code, and to
            take any and all actions to advance the Company’s rights in connection therewith, and the
            Authorized Officer is hereby authorized and directed to execute appropriate retention
            agreements, pay appropriate retainers prior to and immediately upon the filing of the bankruptcy,
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            and to cause to be filed an appropriate application for authority to retain the services of PSZ&J
            and K&E;

                           RESOLVED, that the Authorized Officers, on behalf of the Company, are
            authorized, empowered and directed to retain the services of Berkely Research Group LLP
            (“BRG”) as the Company’s restructuring advisor, and in connection therewith, the Authorized
            Officers are hereby authorized and directed to execute appropriate retention agreements, pay
            appropriate retainers prior to and immediately upon the filing of the bankruptcy, and to cause to
            be filed an appropriate application for authority to retain the services of BRG;

                            RESOLVED, that the Authorized Officers, on behalf of the Company, is
            authorized, empowered and directed to retain the services of Stifel and Miller Buckfire
            (collectively, “Stifel”) as the Company’s investment banker, and in connection therewith, the
            Authorized Officers are hereby authorized and directed to execute appropriate retention
            agreements, pay appropriate retainers prior to and immediately upon the filing of the bankruptcy,
            and to cause to be filed an appropriate application for authority to retain the services of Stifel;

                           RESOLVED, that the Authorized Officers, on behalf of the Company, are
            authorized, empowered and directed to retain the services of Epiq Corporate Restructuring, LLC
            (“Epiq”) as the Company’s solicitation, claims, and noticing agent, and in connection therewith,
            the Authorized Officers are hereby authorized and directed to execute appropriate retention
            agreements, pay appropriate retainers prior to and immediately upon the filing of the bankruptcy,
            and to cause to be filed an appropriate application for authority to retain the services of Epiq;

                            RESOLVED, that the Authorized Officers of the Company are authorized and
            directed to employ any other professionals necessary to assist the Company in carrying out its
            duties under the Bankruptcy Code; and in connection therewith, the officers of the Company are
            hereby authorized and directed to execute appropriate retention agreements, pay appropriate
            retainers prior to or immediately upon the filing of the chapter 11 case and cause to be filed
            appropriate applications with the bankruptcy court for authority to retain the services of any
            other professionals, as necessary, and on such terms as are deemed necessary, desirable and
            proper;

                           RESOLVED, that in the business judgment of the Board, the Company will
            benefit from using collateral, including cash collateral, as that term is defined in section 363(a)
            of the Bankruptcy Code (the “Cash Collateral”), that is security for the holders of Company
            obligations (such holders, the “Secured Parties”) under the prepetition debt documents;

                           RESOLVED, that in the business judgment of the Board, the Company needs
            access to post-petition financing during the chapter 11 case;

                            RESOLVED, that the Authorized Officers of the Company are authorized and
            empowered to obtain post-petition financing according to terms which may be negotiated by the
            management of the Company, including under debtor-in-possession credit facilities or the use of
            cash collateral; and to enter into any guaranties and to pledge and grant liens on its assets as may
            be contemplated by or required under the terms of such post-petition financing or cash collateral
            agreement; and in connection therewith, the Authorized Officers of the Company are hereby

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            authorized and directed to execute appropriate loan agreements, cash collateral agreements and
            related ancillary documents;

                           RESOLVED, that in the judgment of the Board of Directors it is desirable and in
            the best interests of the Company that the Company sell substantially all of its assets and,
            therefore, the Company is hereby authorized to enter into an asset purchase agreement to
            effectuate such sale on such terms that management determines will maximize value, and the
            Company is further authorized to file a motion to approve such sale and for any related relief, or
            to approve a sale to a higher and better bidder, and to close such sale, subject to Bankruptcy
            Court approval in the Company’s chapter 11 proceeding;

                            RESOLVED, that the Authorized Officers are authorized on behalf of the
            Company to take any and all actions, to execute, deliver, certify, file and/or record and perform
            any and all documents, agreements, instruments, motions, affidavits, applications for approvals
            or rulings of governmental or regulatory authorities or certificates and to take any and all actions
            and steps deemed by the Authorized Officers to be necessary or desirable to carry out the
            purpose and intent of each of the foregoing resolutions and to effectuate a successful chapter 11
            case, including, but not limited to the development, filing and prosecution to confirmation of a
            chapter 11 plan and related disclosure statement;

                             RESOLVED, that in addition to the specific authorizations heretofore conferred
            upon the Authorized Signatories, each of the Authorized Signatories (and their designees and
            delegates), any one of whom may act without the joinder of any of the others, are hereby
            individually authorized and empowered, in the name of and on behalf of the Company, to take or
            cause to be taken any and all such other and further action including, but not limited to, (i) the
            seeking, preparation and negotiation of such additional agreements, amendments, supplements,
            modifications, consents, waivers, reports, documents, instruments, applications, notes or
            certificates not now known but which may be required, (ii) the seeking, preparation and
            negotiation of such changes and additions to any agreements, amendments, supplements, other
            modifications, consents, waivers, reports, documents, instruments, applications, notes or
            certificates currently existing, (iii) the execution, acknowledgement, delivery, performance and
            filing (if applicable) of any of the foregoing and (iv) the payment of all fees, consent payments,
            taxes, indemnities and other expenses, in each case as in such officer’s judgment, shall be
            necessary, advisable, convenient or desirable in order to fully carry out the intent and accomplish
            the purposes of the Resolutions adopted herein, all of such actions, executions, deliveries, filings
            and payments to be conclusive evidence of such approval or that such Authorized Signatory
            deemed the same to be so necessary, convenient, appropriate, desirable or advisable; and that all
            such actions, executions, deliveries, filings and payments taken or made at any time in
            connection with the transactions contemplated by the foregoing Resolutions hereby are
            approved, adopted, ratified and confirmed in all respects as the acts and deeds of the Company,
            respectively, as if specifically set out in these Resolutions;

                          RESOLVED, that the Board hereby adopts and incorporates by reference any
            form of specific resolution to carry into effect the intent and purpose of the foregoing
            Resolutions, or to cover authority included in matters authorized in the foregoing Resolutions,
            including forms of resolutions in connection therewith that may be required by any state, other


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            jurisdiction or other institution, person or agency, and a copy of these Resolutions shall be filed
            with the records of the meetings of the Board and certified as duly adopted thereby;

                           RESOLVED, that the Board has received sufficient notice of the actions and
            transactions relating to the matters contemplated by the foregoing Resolutions, as may be
            required by the organizational documents of each Company, or hereby waive any right to have
            received such notice;

                           RESOLVED, that all acts, actions and transactions relating to the matters
            contemplated by the foregoing Resolutions done in the name of and on behalf of the Company,
            which acts would have been approved by the foregoing Resolutions except that such acts were
            taken before the adoption of these Resolutions, are hereby in all respects approved and ratified as
            the true acts and deeds of each Company with the same force and effect as if each such act,
            transaction, agreement or certificate has been specifically authorized in advance by the
            Resolutions of the Board; and

                            RESOLVED, that (a) the foregoing Resolutions may be executed and delivered
            electronically (including by facsimile or portable document format (pdf) transmission), (b) these
            Resolutions may be executed in one or more counterparts, each of which shall be deemed an
            original and all of which shall constitute one and the same instrument and (c) facsimile and other
            electronic copies of manually signed originals shall have the same effect as manually-signed
            originals and shall be binding on the Board and the Company.




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                           IN WITNESS WHEREOF, the undersigned, being all of the members of the
            Board of Directors of Sientra, Inc. have executed this Action by Unanimous Written Consent
            (the “Action”) effective as of the date set forth above. This Action may be executed in
            counterparts, each of which shall be deemed an original and all of which together shall constitute
            one and the same instrument.


                                                             SIENTRA, INC.


                                                             DIRECTORS



                                                             Caroline Van Hove



                                                             Ron Menezes



                                                             Alex Casdin



                                                             Philippe A. Schaison



                                                             Mary M. Fisher



                                                             Dr. Irene Erenburg



                                                             Nori Ebersole


                       [SIGNATURE PAGE TO ACTION BY UNANIMOUS WRITTEN CONSENT OF
                                 THE BOARD OF DIRECTORS OF SIENTRA, INC.]




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   Fill in this information to identify the case:

   Debtor name    Sientra, Inc., et al.
   United States Bankruptcy Court for the District of
                                                               (State)
                                                                                                                                             Check if this is an
   Case number (If known):
                                                                                                                                             amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
 Unsecured Claims and Are Not Insiders (on a Consolidated Basis)                                                                                         12/15

 A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
 disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
 creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest
 unsecured claims.


  Name of creditor and complete                 Name, telephone number, and Nature of the claim Indicate if   Amount of unsecured claim
  mailing address, including zip code           email address of creditor   (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                                contact                     debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in total
                                                                            professional        unliquidated, claim amount and deduction for value of collateral or
                                                                            services, and       or disputed setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                    Total claim, if   Deduction for   Unsecured claim
                                                                                                                    partially         value of
                                                                                                                    secured           collateral or
                                                                                                                                      setoff

1. Simatrix, Inc.                             Contact: Jean Nelson      Trade claim                                                                   $1,373,498
   8168 Solutions Center                      Email:
   Chicago, IL 60677                          Jean.Nelson@Lubrizol.co
                                              m
2. Elutia Inc.                                Contact: Shanti Gibson    Trade claim                                                                   $551,044
   PO Box 392191                              Email: billing@elutia.com
   Pittsburgh, PA 15251

3. Nusil Technology LLC                       Contact: Debbie          Trade claim                                                                    $457,288
   PO Box 31001-2527                          Richardson
   Pasadena, CA 91110                         Email:
                                              Debbie.Richardson@avan
                                              torsciencesgcc.com
4. Salesforce-Com                             Contact: Nichole Gardner Trade claim                                                                    $361,945
   PO Box 203141                              Email:
   Dallas, TX 75320                           billing@salesforce.com

5. GI Partners Ets Fund Reit                  Contact: Cathy Conner              Landlord                                                             $359,254
   Aggregator LP                              Email:
   GI ETS Santa Clara 2805                    cathy.conner@cbre.com
   LLC
   Four Embarcadero Center,
   Suite 3200
   San Francisco, CA 94111

6. KPMG LLP                                   Contact: Gerald Schemidt Professional                                                                   $333,835
   Dept. 0922                                 Email:                   services
   PO Box 120922                              gschemidt@kpmg.com
   Dallas, TX 75312-0922
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  Debtor        SIENTRA, INC., ET AL.                                                          Case number (if known)
                Name




   Name of creditor and complete          Name, telephone number, and Nature of the claim Indicate if   Amount of unsecured claim
   mailing address, including zip code    email address of creditor   (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                          contact                     debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in total
                                                                      professional        unliquidated, claim amount and deduction for value of collateral or
                                                                      services, and       or disputed setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                                Total claim, if   Deduction for   Unsecured claim
                                                                                                                partially         value of
                                                                                                                secured           collateral or
                                                                                                                                  setoff

7. Oracle America, Inc.       Contact: Accounts        Trade claim                                                                                $182,436
   PO Box 884471              Receivable
   Los Angeles, CA            Email:
                              collections_us@oracle.co
                              m
8. Formulated Solutions, LLC  Contact: Peter Furman    Trade claim                                                                                $182,311
   11775 Starkey Road         Email:
   Largo, FL 33773            pfurman@formulatedsoluti
                              ons.com
9. FEDEX                      Contact: Accounts        Trade claim                                                                                $133,278
   PO Box 7221                Receivable
   Pasadena, CA 91109-7321 Email:
                              fedex@billtrust.com
10.Beghou Consulting, LLC     Contact: Ravi Singh      Professional                                                                               $125,000
   PO Box 0452                Email:                   services
   Evanston, IL 60204         ravi.singh@beghouconsult
                              ing.com
11.Veranex, Inc.              Contact:  Sean Atwill    Trade claim                                                                                $123,708
   5420 Wade Park Blvd, Suite Email:
   204                        sean.atwell@veranex.com
   Raleigh, NC 27607

12.Synteract, Inc.               Contact: Shahbaz          Trade claim                                                                            $102,355
   5909 Sea Otter Place          Siddique
   Carlsbad, CA 92010            Email:
                                 shahbaz.siddique@syneo
                                 shealth.com
13.Donnelley Financial Solutions Contact: Anne Livingston Professional                                                                            $100,606
   Donnelley Financial, LLC      Email: accounts-          services
   P.O. Box 842282               receivable@dfinsolutions.
   Boston, MA 02284              com
14.Secure Green, Inc.            Contact: Allen Pham       Trade claim                                                                            $98,519
   304 S. Jones Blvd Ste 3924 Email:
   Las Vegas, NV 89107           allen.pham@sientra.com

15.RSM US LLP                            Contact: Victor Kao              Trade claim                                                             $95,341
   4650 E 53RD St                        Email:
   Davenport, IA 52807                   Victor.Kao@rsmus.com

16.Insights First Strategic              Contact: Tom Kessler     Trade claim                                                                     $88,800
   Marketing                             Email:
   1556 Meyerwood Circle                 TomKessler@Insights1st.
   Highlands Ranch, CO 8012              com
17.Clark Smith Villazor LLP              Contact: Patrick Smith   Professional                                                                    $75,948
   250 West 55th Street, 30th            Email:                   services
   Floor                                 patrick.smith@csvllp.com
   New York, NY 10019

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                                    Case 24-10245             Doc 1        Filed 02/12/24             Page 15 of 21
  Debtor        SIENTRA, INC., ET AL.                                                         Case number (if known)
                Name




   Name of creditor and complete         Name, telephone number, and Nature of the claim Indicate if   Amount of unsecured claim
   mailing address, including zip code   email address of creditor   (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                         contact                     debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in total
                                                                     professional        unliquidated, claim amount and deduction for value of collateral or
                                                                     services, and       or disputed setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                               Total claim, if   Deduction for   Unsecured claim
                                                                                                               partially         value of
                                                                                                               secured           collateral or
                                                                                                                                 setoff

18.Nxtthing RPO, LLC             Contact: Amina Mukati      Trade claim                                                                          $75,398
   20 N. Meridian Street, Ste.   Email:
   300                           Amina.Mukati@employinc
   Indianapolis, IN 46204        .com
19.183 Degrees Strategic         Contact: Raj               Trade claim                                                                          $ 74,689
   Solutions LLC                 Roychoudhury
   1157 S Chanterella Dr         Email:
   San Ramon, CA 94582           raj@183degrees.com
20.The Exhibit Company, Inc.     Contact: Tamara            Trade claim                                                                          $68,622
   239 Old New Brunswick Road Timmons
   Piscataway, NJ 08854          Email:
                                 accounting@exhibitcompa
                                 nyinc.com
21.Warehouse Anywhere LLC        Contact: Victoria Rajewski Trade claim                                                                          $67,553
    8 Los Robles Street          Email:
   Buffalo, NY 14221             vrajewski@warehouseany
                                 where.com
22.NASDAQ,    INC                Contact:  Sharon Asprer Services                                                                                $65,500
   The NASDAQ Stock Market, Email:
   LLC                           Sharon.Asprer@nasdaq.c
   Lockbox 20200, PO Box         om
   780200
   Philadelphia, PA 19178
23.DLA Piper LLP (US)            Contact: Erin Kruse        Professional                                                                         $62,995
   P.O. Box 780528               Email:                     services
   Philadelphia, PA 19178        erin.kruse@us.dlapiper.co
                                 m
24.Mission  Plasticos Foundation Contact:  Susan            Trade claim                                                                          $62,500
   8502 E. Chapman Ave. #447 Williamson
   Orange, CA 92869              Email:
                                 susan@missionplasticos.o
                                 rg
25.Fairview Business             Contact: Letissia Bisquera Professional                                                                         $59,719
   Associates, LLC               Email:                     services
   430 S Fairview Ave            letissia.bisquera@yardi.co
   Goleta, CA 93117.             m
26.Health Trust Purchasing       Contact: Kristen Orr       Trade claim                                                                          $55,450
   Group, LP                     Email:
   1100 Dr Martin Luther King Jr vendorbackup@healthrust
   Blvd                          pg.com
   Nashville, TN 37203
27.Shane Fadem                   Contact: Shane Fadem       Trade claim                                                                          $48,391
                                 Email:
                                 shane.fadem@sientra.co
                                 m




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                                   Case 24-10245              Doc 1        Filed 02/12/24             Page 16 of 21
  Debtor       SIENTRA, INC., ET AL.                                                          Case number (if known)
               Name




  Name of creditor and complete          Name, telephone number, and Nature of the claim Indicate if   Amount of unsecured claim
  mailing address, including zip code    email address of creditor   (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                         contact                     debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in total
                                                                     professional        unliquidated, claim amount and deduction for value of collateral or
                                                                     services, and       or disputed setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                               Total claim, if   Deduction for   Unsecured claim
                                                                                                               partially         value of
                                                                                                               secured           collateral or
                                                                                                                                 setoff

28.Medical Device                       Contact: Sheri Devinney Trade claim                                                                      $48,286
   Manufacturers Association            Email:
   1333 H St NW, Ste 400 W              sdevinney@medicaldevic
   Washington, DC 20005                 es.org
29.Realtime Media, LLC                  Contact: Jackie Stern   Trade claim                                                                      $46,864
   1001 Conshohocken                    Email: jstern@rtm.com
   State Rd
   West Conshohocken, PA
   19428
30.Vesta, Inc.                          Contact: Jean Berg     Trade claim                                                                       $42,704
   8168 Solutions Center                Email:
   Chicago, IL 60677                    Jean.Berg@lubrizol.com




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                             IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE

 In re:                                             Chapter 11

          SIENTRA, INC.,                            Case No. 24-_____ (___)

                                  Debtor.

                   CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)


                Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges
to evaluate possible disqualification or recusal, the undersigned authorized officer of the above-
captioned Debtor, certifies that the following is a corporation other than the Debtor, or a
governmental unit, that directly or indirectly owns 10% or more of any class of the corporation’s
equity interests, or states that there are no entities to report under FRBP 7007.1.


 None [check if applicable]

            Name:
            Address:




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                          IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

 In re:                                                  Chapter 11

          SIENTRA, INC.,                                 Case No. 24-_____ (___)

                               Debtor.

                            LIST OF EQUITY SECURITY HOLDERS


Following is the list of the Debtor’s equity security holders which is prepared in accordance with rule
1007(a)(3) for filing in this Chapter 11 Case:

COMMON STOCK


          Equity Holder              Address of Equity Holder                         Amount Held

 Computershare (as Agent for     150 Royall Street
                                                                                190
 Reverse Split)                  Canton, MA 02021

 Michael Strathmeyer             ADDRESS REDACTED                               94

 Rochelle Yoshida                ADDRESS REDACTED                               33

 Kris Craigo                     ADDRESS REDACTED                               11

 Leia Cromwell                   ADDRESS REDACTED                               96

 Leigh Anne Fernandes            ADDRESS REDACTED                               109

 Kelley Keane                    ADDRESS REDACTED                               10

 Stephanie Farnum                ADDRESS REDACTED                               13

 Donald Hodgdon                  ADDRESS REDACTED                               126

 Chris Mcgreevy                  ADDRESS REDACTED                               744

 Hafiz Elmahi                    ADDRESS REDACTED                               4

 William A Danoff                ADDRESS REDACTED                               17,827



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     Equity Holder           Address of Equity Holder                   Amount Held

                         570 Washington Blvd.
Cede & Co                                                            11,894,841
                         Jersey City, NJ 07310
                         c/o Computershare Inc
Dingo & Co               150 Royall Street                           177,653
                         Canton, MA 02021
                         c/o Computershare Inc
Roo & Co                 150 Royall Street                           202,887
                         Canton, MA 02021
                         TOTAL                                       12,294,638




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                            IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF DELAWARE

    In re:                                                        Chapter 11

             SIENTRA, INC.,                                       Case No. 24-_____ (___)

                                       Debtor.

                              CERTIFICATION OF CREDITOR MATRIX


         Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the
United States Bankruptcy Court for the District of Delaware, the above captioned debtor and its
affiliated debtors in possession (collectively, the “Debtors”)1 hereby certify that the Creditor
Matrix submitted herewith contains the names and addresses of the Debtors’ creditors. To the best
of the Debtors’ knowledge, the Creditor Matrix is complete, correct, and consistent with the
Debtors’ books and records.

         The information contained herein is based upon a review of the Debtors’ books and records
as of the petition date. However, no comprehensive legal and/or factual investigations with regard
to possible defenses to any claims set forth in the Creditor Matrix have been completed. Therefore,
the listing does not, and should not, be deemed to constitute: (1) a waiver of any defense to any
listed claims; (2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver
of any other right or legal position of the Debtors.




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number are: Sientra, Inc. (1000); Mist Holdings, Inc. (4221); Mist, Inc. (1202); and Mist International, Inc. (3363).
    The Debtors’ service address is 3333 Michelson Drive, Suite 650, Irvine, CA.

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Fill in this information to identify the case:

Debtor name         Sientra, Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration       List of Equity Holders; Corporate Ownership Statement; Verification of
                                                                Creditor Matrix

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       February 12, 2024               X /s/ Ronald Menezes
                                                           Signature of individual signing on behalf of debtor

                                                            Ronald Menezes
                                                            Printed name

                                                            President and CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
